Case 8:21-cv-00555-SDM-CPT Document 153 Filed 06/15/22 Page 1 of 1 PageID 11828


                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


     DALANEA TAYLOR, et al.,

           Plaintiffs,

     v.                                                       CASE NO. 8:21-cv-555-SDM-CPT

     CHRIS NOCCO,

           Defendant.
     ___________________________________/


                                         CORRECTED ORDER *

           The parties’ unopposed motion (Doc. 151) to extend the time within which to

     respond to the cross motions (Docs. 115, 139) for summary judgment is

     GRANTED. The parties must respond to the cross motions for summary judgment

     not later than JULY 18, 2022.

           ORDERED in Tampa, Florida, on June 15, 2022.




           *
               This corrected order supersedes the earlier order at Doc. 152.
